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 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   1990 North California Blvd., Suite 940
     Walnut Creek, CA 94596
 3   Telephone: (925) 300-4455
     Facsimile: (925) 407-2700
 4   E-mail: ltfisher@bursor.com
 5   BURSOR & FISHER, P.A.
     Joseph I. Marchese (pro hac vice forthcoming)
 6   Alec M. Leslie (pro hac vice forthcoming)
     New York, NY 10019
 7   Telephone: (646) 837-7150
     Facsimile: (212) 989-9163
 8   E-Mail: jmarchese@bursor.com
              aleslie@bursor.com
 9

10   GUCOVSCHI ROZENSHTEYN, PLLC.
     Adrian Gucovschi (pro hac vice forthcoming)
11   630 Fifth Avenue, Suite 2000
     New York, NY 10111
12   Telephone: (212) 884-4230
     Facsimile: (212) 884-4230
13   E-Mail: adrian@gr-firm.com
14   Attorneys for Plaintiff
15
                                   UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORINA
17

18
     AMANDA MCCLURE, individually and on               Case No.:
19   behalf of all other persons similarly situated,
20
                                    Plaintiff,
                                                       CLASS ACTION COMPLAINT
21
                    v.
22
                                                       JURY TRIAL DEMANDED
     GROCERY DELIVERY E-SERVICES USA
23   INC. D/B/A HELLOFRESH,
24
                                    Defendant.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1          Plaintiff Amanda McClure (“Plaintiff”) brings this action individually and on behalf of all
 2   others similarly situated against Defendant Grocery Delivery E-Services Usa Inc., d/b/a HelloFresh
 3   (“HelloFresh” or “Defendant”). Plaintiff makes the following allegations pursuant to the
 4   investigation of her counsel and based upon information and belief, except as to allegations
 5   specifically pertaining to herself and her counsel, which are based on personal knowledge.
 6                                           INTRODUCTION
 7          1.      This is a putative class action lawsuit against Defendant for engaging in an illegal
 8   “automatic renewal” scheme with respect to its subscription sports broadcasting and streaming
 9   services across its network sites (collectively, the “HelloFresh Subscriptions,” enumerated below)
10   through its website at https://www.HelloFresh.com (the “HelloFresh Website”). Defendant is an
11   international food delivery company that, among other activities, delivers pre-portioned ingredients
12   and recipes as an alternative to traditional grocery shopping. Relevant to Plaintiff’s allegations,
13   when consumers sign up for the HelloFresh Subscriptions through the HelloFresh Website,
14   Defendant actually enrolls consumers in a program that automatically renews customers’
15   HelloFresh Subscriptions from week-to-week and results in weekly charges to the consumer’s
16   credit card, debit card, or third-party payment account (collectively, “Payment Method”). In doing
17   so, Defendant fails to provide the requisite disclosures and authorizations required to be made to
18   and obtained from California consumers under California’s Automatic Renewal Law (“ARL”),
19   Cal. Bus. & Prof. Code §§ 17600, et seq.
20          2.      Through the HelloFresh Website, Defendant markets, advertises, and sells to
21   consumers in California and throughout the United States paid memberships to the HelloFresh
22   Subscriptions, which include food delivery kits based on its customers’ food preferences and
23   number of servings per week (collectively, the “HelloFresh Subscriptions”). To sign up for one of
24   Defendant’s HelloFresh Subscriptions through the HelloFresh Website, customers must provide
25   Defendant with their billing information and Defendant then automatically charges customers’
26   Payment Method as payments become due, typically on a weekly basis. Defendant is able to
27   unilaterally charge its customers’ renewal fees without their consent, as Defendant is in possession
28   of its customers’ billing information. Thus, Defendant has made the deliberate decision to charge

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 1   Plaintiff and other similarly situated customers on a weekly basis, absent their consent under the
 2   ARL, relying on consumer confusion and inertia to retain customers, combat consumer churn, and
 3   bolster its revenues.
 4          3.      Pursuant to the ARL, online retailers who offer automatically renewing
 5   subscriptions to California consumers must: (a) obtain affirmative consent prior to the consumer’s
 6   purchase; (b) provide the complete auto-renewal terms in a clear and conspicuous manner and in
 7   visual proximity to the request for consent prior to the purchase; and (c) provide an
 8   acknowledgement identifying an easy and efficient mechanism for consumers to cancel their
 9   subscriptions. As will be discussed below, the enrollment process for the HelloFresh Subscriptions
10   through the HelloFresh Website uniformly violates each of the core requirements of the ARL.
11          4.      Specifically, Defendant systematically violates the ARL by: (i) failing to present the
12   automatic renewal offer terms in a clear and conspicuous manner and in visual proximity to the
13   request for consent to the offer before the subscription or purchasing agreement is fulfilled, in
14   violation of Section 17602(a)(1); (ii) charging consumers’ Payment Method without first obtaining
15   their affirmative consent to the agreement containing the automatic renewal offer terms, in
16   violation of Section 17602(a)(2); and (iii) failing to provide an acknowledgment that includes the
17   automatic renewal offer terms, cancellation policy, and information regarding how to cancel in a
18   manner that is capable of being retained by the consumer, in direct violation of Sections
19   17602(a)(3) and 17602(b). Cal. Bus. & Prof. Code §§ 17602(a)(l), (a)(2), (a)(3), (b). As a result,
20   the HelloFresh Subscriptions, which include food delivery kits granted to Plaintiff and the Class
21   under the automatic renewal of continuous service agreements are deemed to be “unconditional
22   gifts” under the ARL. Cal. Bus. & Prof. Code § 17603.
23          5.      For the foregoing reasons, Plaintiff brings this action individually and on behalf of
24   all California purchasers of any of Defendant’s HelloFresh Subscriptions offerings who, within the
25   applicable statute of limitations period up to and including the date of judgment in this action,
26   incurred unauthorized fees for the renewal of their HelloFresh Subscriptions. Based on Defendant’s
27   unlawful conduct, Plaintiff seeks damages, restitution, declaratory relief, injunctive relief, and
28   reasonable attorneys’ fees and costs, for: (i) violation of California’s Unfair Competition Law


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 1   (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (ii) violation of California’s False Advertising
 2   Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.; (iii) violation of California’s Consumers
 3   Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; (iv) conversion; and (iv) unjust
 4   enrichment/restitution.
 5                                            THE PARTIES
 6          6.      Plaintiff Amanda McClure is a citizen of California, residing in Marina, California.
 7   On or around March 11, 2022, Ms. McClure purchased a HelloFresh Subscription from
 8   Defendant’s Website while residing in California. During the enrollment process, but before
 9   finally consenting to Defendant’s subscription offering, Ms. McClure provided her Payment
10   Method information directly to Defendant. At the time that Ms. McClure enrolled in her
11   HelloFresh Subscription program, Defendant did not disclose to Ms. McClure all of the required
12   automatic renewal offer terms associated with the subscription program or obtain Ms. McClure’s
13   affirmative consent to those terms. Further, after Ms. McClure completed her initial order (which
14   was free after applying the Defendant’s promotional code), Defendant sent Ms. McClure an email
15   confirmation and receipt for her purchase of and enrollment in the HelloFresh Subscription (the
16   “Acknowledgment Email”). However, the Acknowledgment Email, too, failed to provide Ms.
17   McClure with the complete automatic renewal terms that applied to Defendant’s offer, a
18   description of Defendant’s full cancellation policy, or information regarding how to cancel Ms.
19   McClure’s HelloFresh Subscription in a manner capable of being retained by her. Ms. McClure did
20   not receive any other acknowledgement that contained the required information. As a result, Ms.
21   McClure was not placed on notice of several material terms associated with her HelloFresh
22   Subscription. In particular, Ms. McClure was not made aware of the recurring price to be charged
23   upon renewal, the length of the renewal term, when the first charge would occur, or the complete
24   cancellation policy associated with her HelloFresh Subscription: the most crucial aspects of which
25   were missing from the Checkout Page and the Acknowledgment Email. Nevertheless, on
26   Wednesday, March 23, 2022, Defendant automatically renewed Ms. McClure’s HelloFresh
27   Subscription and charged Ms. McClure’s Payment Method approximately $69.93. Defendant
28   charged Mr. McClure’s Payment Method again on March 30, 2022 for $69.93. Promptly after


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 1   learning of Defendant’s deceptive recurring charges, on or around Tuesday, April 5, 2022, Ms.
 2   McClure canceled her HelloFresh Subscription via Defendant’s Website in order to avoid incurring
 3   any additional future charges. Nevertheless, Defendant imposed a charge of 69.93 the day after Ms.
 4   McClure’s cancelation. Defendant’s missing and/or incomplete disclosures on the Checkout Page
 5   and in the Acknowledgment Email for the HelloFresh Subscription, its failure to obtain Ms.
 6   McClure’s affirmative consent to the offer terms associated with the HelloFresh Subscription
 7   before charging her Payment Method on a recurring basis, runs contrary to the ARL, which deems
 8   products provided in violation of the statute to be a gift to consumers. See Cal. Bus. & Prof. Code
 9   § 17603. Had Defendant complied with the ARL, Ms. McClure would have been able to read and
10   review the pertinent automatic renewal offer terms prior to purchase, and she would not have
11   subscribed to the HelloFresh Subscription at all or on the same terms or she would have cancelled
12   her HelloFresh Subscription earlier, i.e., prior to the two charges following her free promotional
13   delivery. As a direct result of Defendant’s violations of the ARL, Ms. McClure suffered, and
14   continues to suffer, economic injury.
15          7.      Defendant Grocery Delivery E-Services Usa Inc., d/b/a HelloFresh (“HelloFresh” or
16          “Defendant”) is a Delaware corporation with its principal place of business at 28 Liberty
17   Street, New York, New York 10005. Defendant is an international food delivery company that
18   markets, sells, and delivers meal kits to consumers throughout California and nationwide.
19   Defendant is also responsible for the promotion, advertisement, and/or marketing of the
20   automatically renewing HelloFresh Subscriptions, and it owns and operates the HelloFresh
21   Website, where it markets and sells its HelloFresh Subscriptions. Defendant sells HelloFresh
22   Subscriptions in California and has done business throughout New York, and throughout the
23   United States, at all times during the Class Period. Defendant also made automatic renewal or
24   continuous service offers to consumers in California and New York, and throughout the United
25   States, via the HelloFresh Website during the Class Periods.
26          8.      Plaintiff reserves the right to amend this Complaint to add different or additional
27   defendants, including without limitation any officer, director, employee, supplier, or distributor of
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 1   Defendant who has knowingly and willfully aided, abetted, or conspired in the false and deceptive
 2   conduct alleged herein.
 3                                      JURISDICTION AND VENUE
 4            9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as
 5   amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action
 6   where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,
 7   exclusive of interest and costs, there are over 100 members of the putative class, and Plaintiff, as
 8   well as most members of the proposed class, is a citizen of a state different from Defendant.
 9            10.    This Court has personal jurisdiction over the parties because Plaintiff resides in
10   California and submits to the jurisdiction of the Court, and because Defendant has, at all times
11   relevant hereto, systematically and continually conducted business in California, including within
12   this District, and/or intentionally availed itself of the benefits and privileges of the California
13   consumer market through the promotion, marketing, and sale of its products and/or services to
14   residents within this District and throughout California. Additionally, Plaintiff purchased her
15   HelloFresh Subscription from Defendant while in California.
16            11.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
17   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
18   District. Also, Plaintiff resides in this District and purchased Defendant’s HelloFresh Subscription
19   in this District. Moreover, Defendant systematically conducts business in this District and
20   throughout the State of California, and it distributed, advertised, and sold the HelloFresh
21   Subscriptions to Plaintiff and Class Members in this State and District.
22                                       FACTUAL ALLEGATIONS
23            A.     Background On The Subscription e-Commerce Market
24            12.    The e-commerce subscription model is a business model in which retailers provide
25   ongoing goods or services “in exchange for regular payments from the customer.”1 Subscription
26   e-commerce services target a wide range of customers and cater to a variety of specific interests.
27
     1
28       See https://www.coredna.com/blogs/ecommerce-subscription-services.


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 1   Given the prevalence of online and e-commerce retailers, subscription e-commerce has grown
 2   rapidly in popularity in recent years. Indeed, the “subscription economy has grown more than
 3   400% over the last 8.5 years as consumers have demonstrated a growing preference for access to
 4   subscription services[.]”2 Analysts at UBS predict that the subscription economy will expand into a
 5   $1.5 trillion market by 2025, up from $650 billion in 2020.3 That constitutes an average annual
 6   growth rate of 18%, which makes the subscription economy “one of the fastest-growing industries
 7   globally.4
 8          13.     As noted above, the production, sale, and distribution of subscription-based
 9   products and services is a booming industry that has exploded in popularity over the past few
10   years. According to Forbes, “[t]he subscription e-commerce market has grown by more than 100%
11   percent a year over the past five years, with the largest retailers generating more than $2.6B in
12   sales in 2016, up from $57.0M in 2011.”5 Following 2016, market growth within the industry
13   increased exponentially, reaching $650 billion in 2020.6 “As such, the financials of companies
14   2
       Business Insider, Taco Bell’s taco subscription is rolling out nationwide — here’s how to get it
15   (January 6, 2022), https://www.businessinsider.com/taco-bell-subscription-launching-across-the-
     country-2022-1 (internal quotation marks omitted).
16   3
       See UBS, Investing in digital subscriptions (March 10, 2021),
     https://www.ubs.com/global/en/wealth-management/our-
17   approach/marketnews/article.1525238.html (“[A]t close to USD 650 billion in 2020, we expect the
     subscription economy to expand into a USD 1.5 trillion market by 2025, implying an average
18   annual growth rate of 18%.”). See also Subscribed, UBS Declares: It’s Worth Investing in the
     Subscription Economy (April 17, 2021), https://www.subscribed.com/read/news-and-editorial/ubs-
19   declares-its-worth-investing-in-the-subscription-economy; Business 2 Community, The
     Subscription Economy Is Booming Right Now. But Are You Reaping the Full Benefits? (October 7,
20   2021), https://www.business2community.com/ecommerce/the-subscription-economy-is-booming-
     right- now-but are-you-reaping-the-full-benefits-02434851.
21   4
       UBS, Investing in digital subscriptions (Mar. 10, 2021), supra (“[Growth] was seen across many
22   areas, including e-commerce, video streaming, gaming, cloud-based applications, etc.”); see also
     Juniper Research, Subscriptions For Physical Goods To Overtake Digital Subscriptions By 2025;
23   Growing To Over $263bn Globally (Oct. 12, 2020),
     https://www.juniperresearch.com/press/subscriptions-for-physical-goods-to-overtake
24   (acknowledging “the significant lead the digital sector has had in th[e] area[ of digital service
     subscriptions]”).
25   5
       The State Of The Subscription Economy, 2018, Forbes (Mar. 4, 2018),
     https://www.forbes.com/sites/louiscolumbus/2018/03/04/the-state-of-the-subscription-economy-
26   2018/#6ad8251a53ef.
     6
27     See UBS, Investing in digital subscriptions (Mar. 10, 2021), available at
     https://www.ubs.com/global/en/wealth-management/our-
28   approach/marketnews/article.1525238.html.


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 1   with subscription business models[] … improved dramatically in 2020 thanks to limited revenue
 2   volatility and strong cash flow generation.”7 Thus, “[t]he share prices of most subscription
 3   companies have performed well in recent years.”8
 4          14.     The expansion of the subscription e-commerce market shows no signs of slowing.
 5   “We’re now in the subscriptions era, and the pandemic is accelerating its takeover. During the
 6   COVID-19 lockdowns, many digital-based subscription business models fared well due to their
 7   promise of convenience and strong business continuity.”9 According to The Washington Post,
 8   “[s]ubscriptions boomed during the coronavirus pandemic as Americans largely stuck in shutdown
 9   mode flocked to digital entertainment[.] … The subscription economy was on the rise before the
10   pandemic, but its wider and deeper reach in nearly every industry is expected to last, even after the
11   pandemic subsides in the United States.”10
12          15.     However, as The Washington Post has noted, there are downsides associated with
13   the subscription-based business model. While the subscription e-commerce market has low barriers
14   and is thus easy to enter, it is considerably more difficult for retailers to dominate the market due to
15   the “highly competitive prices and broad similarities among the leading players.”11 In particular,
16   retailers struggle with the fact that “[c]hurn rates are high, [] and consumers quickly cancel services
17   that don’t deliver superior end-to-end experiences.”12 Yet, retailers have also recognized that,
18   where the recurring nature of the service, billing practices, or cancellation process is unclear or
19   complicated, “consumers may lose interest but be too harried to take the extra step of canceling
20
     7
       Id.
21   8
       Id.
22   9
       UBS, Investing in digital subscriptions (Mar. 10, 2021), https://www.ubs.com/global/en/wealth-
     management/our- approach/marketnews/article.1525238.html.
23   10
        The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
24   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (noting that “e-commerce and entertainment subscriptions to sites such as Netflix, Hulu
25   and Disney Plus made headlines during the pandemic for soaring growth”).
     11
        McKinsey & Company, Thinking inside the subscription box: New research on e-commerce
26   consumers, (February 2018), https://www.mckinsey.com/industries/technology-media-and-
     telecommunications/our-insights/thinking- inside-the-subscription-box-new-research-on-
27   ecommerce-consumers#0.
     12
28      Id.


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 1   their membership[s].”13 As these companies have realized, “[t]he real money is in the inertia.”14
 2   As a result, “[m]any e-commerce sites work with third-party vendors to implement more
 3   manipulative designs.”15 That is, to facilitate consumer inertia, a number of subscription e-
 4   commerce companies, including Defendant, “are now taking advantage of subscriptions in order to
 5   trick users into signing up for expensive and recurring plans. They do this by intentionally
 6   confusing users with their app’s design and flow, … and other misleading tactics[,]” such as failure
 7   to fully disclose the terms of its automatic-renewal programs.16
 8          16.     To make matters worse, once enrolled in the subscription, “[o]ne of the biggest
 9   complaints consumers have about brand/retailers is that it’s often difficult to discontinue a
10   subscription marketing plan.”17 Moreover, “the rapid growth of subscriptions has created a host of
11   challenges for the economy, far outpacing the government’s ability to scrutinize aggressive
12   marketing practices and ensure that consumers are being treated fairly, consumer advocates say.”18
13          17.     Thus, although “Federal Trade Commission regulators are looking at ways to make
14   it harder for companies to trap consumers into monthly subscriptions that drain their bank accounts
15   [and] attempting to respond to a proliferation of abuses by some companies over the past few
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     13
        Washington Post, Little-box retailing: Subscription services offer new possibilities to consumers,
19   major outlets (April 7, 2014),
     https://www.washingtonpost.com/business/economy/tktktktk/2014/04/07/f68135b6-a92b-11e3-
20   8d62-419db477a0e6_story.html.
     14
21      Id.
     15
        Business Insider, A new study from Princeton reveals how shopping websites use 'dark patterns'
22   to trick you into buying things you didn't actually want (June 25, 2019),
     https://www.businessinsider.com/dark-patterns-online- shopping-princeton-2019-6.
23   16
        TechCrunch, Sneaky subscriptions are plaguing the App Store (October 15, 2018),
24   https://techcrunch.com/2018/10/15/sneaky-subscriptions-are-plaguing-the-app-store/.
     17
        The Washington Post, Everything’s becoming a subscription, and the pandemic is partly to
25   blame (June 1, 2021), https://www.washingtonpost.com/business/2021/06/01/subscription-boom-
     pandemic/ (“‘Subscription services are a sneaky wallet drain,’ said Angela Myers, 29, of
26   Pittsburgh. ‘You keep signing up for things and they make it really hard to cancel.’”); see also New
     Media and Marketing, The problem with subscription marketing (Mar. 17, 2019),
27   https://www.newmediaandmarketing.com/the-problem-with-subscription-marketing/.
     18
28      Id.


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 1   years[,]”19 widespread utilization of these misleading dark patterns and deliberate omissions
 2   persist.
 3              18.   Defendant has successfully implemented this tactic. “HelloFresh has been eating up
 4   meal kit market share. HelloFresh had sizzling sales in the early months of COVID-19, as
 5   consumers turned to subscription services to fill basic needs. While some of these meal kit
 6   companies—Home Chef, Marley Spoon, and HelloFresh—experienced rising sales between 2019
 7   and 2021, HelloFresh’s sales growth outpaced its competitors, which contributed to its increased
 8   market share.”20 “At the end of 2021, HelloFresh had roughly 7.2 million active customers while
 9   Blue Apron had only 336,000. In the U.S. alone, the only country where Blue Apron operates,
10   HelloFresh has approximately 3.5 million active subscribers.”21 Defendant’s dominance over the
11   US food delivery market is directly linked to its aggressive, and deceptive, marketing tactics:
12   “HelloFresh may be everywhere in digital marketing––an omnichannel approach if there ever was
13   one––but they don’t stop there. HelloFresh spends millions on TV ads, print advertising, and direct
14   mail. They’re on the walls of your subway station. They buy billboard space as the opportunity will
15   soon disappear.”22
16              B.    Defendant’s Dark Patterns And Online Consumer Complaints About The
                      HelloFresh Subscriptions
17
                19.   Defendant’s recent growth in revenues and subscriber count with respect to its
18
     HelloFresh Subscriptions coincides with a sharp decline in subscriber satisfaction as the
19
     HelloFresh Website and accompanying marketing have become riddled with “dark patterns.” Dark
20
     patterns are “tricks used in websites and apps that make you do things that you didn't mean to, like
21

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23   19
        Id.
     20
24      Bloomberg Second Measure, Competition heats up among meal kit companies like Blue Apron
     and HelloFresh (Feb. 23, 2022), https://secondmeasure.com/datapoints/meal-kit-competitors-blue-
25   apron-nyse-aprn-hellofresh-customer-retention-market-share/.
     21
        Statista, Global number of active subscribers of HelloFresh and Blue Apron 2016-2021 (March
26   4, 2022) https://www.statista.com/statistics/947620/meal-kit-companies-number-subscribers-
     worldwide/
27   22
        BANKNOTES, Meal-Kit world dominance vs. high customer churn (Jun. 28, 2022),
28   https://hashtagpaid.com/banknotes/meal-kit-world-dominance-vs-high-customer-churn.


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 1   buying or signing up for something.”23 Consumers have complained on social media outlets both
 2   about Defendant’s misleading enrollment process as well as its confusing cancellation process.
 3   One recent consumer complaint posted on Reddit that “I have an offer for 16 free meals plus free
 4   shipping for the first week. I just want to do one week, but will I be allowed to cancel after I get
 5   my first box? It would be scheduled for Wednesday, March 23rd. Do I cancel after the first box
 6   arrives? When do I need to cancel by? I don’t want to be charged after the first box.”24 Yet another
 7   consumer posted on Twitter “@HelloFresh do not order ! You can never cancel ! I canceled and
 8   open an email and they reactivated my account. I was on vacation last week, I didn’t have Hello
 9   fresh on my mind. Think If they do this to enough people, how much money they make!”25
10   Defendant’s utilization of these dark patterns – especially in conjunction with its failure to fully
11   disclose the terms of its automatic-renewal programs (discussed further below) – has led to a
12   reduction in churn rates by making it next to impossible for subscribers to cancel their HelloFresh
13   Subscriptions. It has further led to an increase in accidental or unintentional sign-ups by consumers
14   for paid HelloFresh Subscriptions plans, in effect increasing subscriber count and, thus,
15   Defendant’s overall revenues from renewal fees.
16           20.    In fact, Defendant’s conduct has drawn the attention and ire of customers across the
17   country, with countless angry customers taking to the Internet to voice their discontent over
18   Defendant’s broken promises. For instance, numerous subscribers have left scathing reviews on the
19   Better Business Bureau website, complaining of the unclear billing practices and confusing
20   cancellation policy associated with the HelloFresh Subscriptions:26
21   ///
22   ///
23   ///
24

25   23
        https://www.deceptive.design/
     24
26      https://www.reddit.com/r/hellofresh/comments/teplda/cancelling_after_one_week/
     25
        https://twitter.com/AmandaC52824691/status/1556342440436678656
27   26
        See https://www.bbb.org/us/ny/new-york/profile/food-delivery/hellofresh-0121-
28   142623/customer-reviews


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 1            21.     Other subscribers to the HelloFresh Subscription left similar complaints at
 2   TrustPilot.com27:
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28        https://www.trustpilot.com/review/hellofresh.com


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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                       13
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 1            22.     Defendant’s use of dark patterns to enroll customers into its HelloFresh
 2   Subscriptions is so nefarious that it prompted Truth in Advertising, a consumer protection
 3   nonprofit organization, to send complaint letters to the Federal Trade Commission (“FTC”) and
 4   Connecticut’s state regulators detailing Defendant’s deceptive marketing in full.28
 5            23.     The above reviews and Truth in Advertising letters are just a sampling of the
 6   widespread pattern of uniform unlawful conduct by Defendant, underscoring the artifice devised
 7   and employed by Defendant to lure and deceive millions of consumers into enrolling, and
 8   remaining enrolled, in its paid HelloFresh Subscription programs.
 9            C.      California’s Automatic Renewal Law
10            24.     In 2010, the California Legislature enacted the Automatic Renewal Law (“ARL”),
11   Cal. Bus. & Prof. Code §§ 17600, et seq., with the intent to “end the practice of ongoing charging
12   of consumer credit or debit cards or third-party payment accounts without the consumers’ explicit
13   consent for ongoing shipments of a product or ongoing deliveries of service.” Cal. Bus. & Prof.
14   Code § 17600 (statement of legislative intent). More recently, in 2018, California’s Senate Bill 313
15   amended Section 17602 of the ARL, adding new requirements meant to increase consumer
16   protections for, among other things, orders that contain free trial and promotional pricing, and
17   subscription agreements entered into online.
18            25.     The ARL makes it “unlawful for any business making an automatic renewal or
19   continuous service offer to a consumer in this state to do any of the following:”
20                    (1)      Fail to present the automatic renewal offer terms or
21                    continuous service offer terms in a clear and conspicuous manner
                      before the subscription or purchasing agreement is fulfilled and in
22                    visual proximity, or in the case of an offer conveyed by voice, in
                      temporal proximity, to the request for consent to the offer. If the
23                    offer also includes a free gift or trial, the offer shall include a clear
                      and conspicuous explanation of the price that will be charged after
24                    the trial ends or the manner in which the subscription or
25                    purchasing agreement pricing will change upon conclusion of the
                      trial.
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28        See Exhibits A and B.


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 1                  (2)     Charge the consumer’s credit or debit card, or the
                    consumer’s account with a third party, for an automatic renewal
 2                  or continuous service without first obtaining the consumer’s
 3                  affirmative consent to the agreement containing the automatic
                    renewal offer terms or continuous service offer terms, including
 4                  the terms of an automatic renewal offer or continuous service
                    offer that is made at a promotional or discounted price for a
 5                  limited period of time.
 6
                    (3)     Fail to provide an acknowledgment that includes the
 7                  automatic renewal offer terms or continuous service offer terms,
                    cancellation policy, and information regarding how to cancel in a
 8                  manner that is capable of being retained by the consumer. If the
                    automatic renewal offer or continuous service offer includes a
 9                  free gift or trial, the business shall also disclose in the
                    acknowledgment how to cancel, and allow the consumer to
10
                    cancel, the automatic renewal or continuous service before the
11                  consumer pays for the goods or services.

12   Cal. Bus. & Prof. Code § 17602(a)(1)-(3).
13           26.    Section 17602(b) of the ARL further provides:
14
                    A business that makes an automatic renewal offer or continuous
15                  service offer shall provide another cost-effective, timely, and easy-
                    to-use mechanism for cancellation that shall be described in the
16                  acknowledgment specified in paragraph (3) of subdivision (a).
17   Cal. Bus. & Prof. Code § 17602(b).
18
             27.    Additionally, following the 2018 amendment to the ARL, the updated law requires
19
     e-commerce sellers, doing business in California, to allow online cancellation of auto-renewing
20
     memberships or recurring purchases that were initiated online. Specifically, Section 17602(c)
21
     provides:
22
                    [A] consumer who accepts an automatic renewal or continuous
23                  service offer online shall be allowed to terminate the automatic
                    renewal or continuous service exclusively online, which may
24                  include a termination email formatted and provided by the business
                    that a consumer can send to the business without additional
25                  information.
26
     Cal. Bus. & Prof. Code § 17602(c) (emphasis added).
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 1           28.     The updated ARL also requires a seller who provides an automatic offer that
 2   includes a free gift, trial, or promotional pricing to notify consumers about how to cancel the auto-
 3   renewal before they are charged. Sellers must also explain the price to be charged when the
 4   promotion or free trial ends. If the initial offer is at a promotional price that is only for a limited
 5   time and will increase later, the seller must obtain consumer consent to the non-discounted price
 6   prior to billing. Id. Section 17601(a) of the ARL defines the term “Automatic renewal” as a “plan
 7   or arrangement in which a paid subscription or purchasing agreement is automatically renewed at
 8   the end of a definite term for a subsequent term.” Cal. Bus. & Prof. Code § 17601(a).
 9           29.     Section 17601(b) of the ARL defines the term “Automatic renewal offer terms” as
10   “the following clear and conspicuous disclosures: (1) That the subscription or purchasing
11   agreement will continue until the consumer cancels. (2) The description of the cancellation policy
12   that applies to the offer. (3) The recurring charges that will be charged to the consumer’s credit or
13   debit card or payment account with a third party as part of the automatic renewal plan or
14   arrangement, and that the amount of the charge may change, if that is the case, and the amount to
15   which the charge will change, if known. (4) The length of the automatic renewal term or that the
16   service is continuous, unless the length of the term is chosen by the consumer. (5) The minimum
17   purchase obligation, if any.” Cal. Bus. & Prof. Code § 17601(b).
18           30.     Pursuant to Section 17601(c) of the ARL, “clear and conspicuous” or “clearly and
19   conspicuously” means “in larger type than the surrounding text, or in contrasting type, font, or
20   color to the surrounding text of the same size, or set off from the surrounding text of the same size
21   by symbols or other marks, in a manner that clearly calls attention to the language.” Cal. Bus. &
22   Prof. Code § 17601(c).
23           31.     Finally, Section 17603 of the ARL provides that where a “business sends any goods,
24   wares, merchandise, or products to a consumer, under a continuous service agreement or automatic
25   renewal of a purchase, without first obtaining the consumer’s affirmative consent[,]” the material
26   sent will be deemed “an unconditional gift to the consumer, who may use or dispose of the same in
27   any manner he or she sees fit without any obligation whatsoever on the consumer’s part to the
28   business[.]” Cal. Bus. & Prof. Code § 17603.


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 1          32.     As alleged below, Defendant’s practices on the HelloFresh Website systematically
 2   violate Sections 17602(a)(l), 17602(a)(2), and 17602(a)(3) of the ARL.
 3          D.      Defendant’s Business: The Subscription Enrollment Process
 4          33.     At all relevant times, Defendant offered, via the HelloFresh Website, the
 5   HelloFresh Subscriptions, which provides customizable meal kits delivery. Defendant offers
 6   these paid subscriptions on a recurring basis, and all plans automatically renew on a weekly
 7   basis unless the subscriber skips a meal or cancels their subscription five days prior to the next
 8   weekly delivery. Defendant’s HelloFresh Subscriptions constitute automatic renewal and/or
 9   continuous service plans or arrangements for the purposes of Cal. Bus. & Prof. Code § 17601.
10          34.     To sign up for one of Defendant’s HelloFresh Subscriptions, the consumer must
11   first select their desired food kit delivery based on their food preferences and the number of
12   servings per week. From a single webpage, prospective subscribers can review and compare
13   the features of Defendant’s HelloFresh Subscriptions.
14          35.     The enrollment process for each HelloFresh Subscription is substantially the
15   same, regardless of the medium used. After selecting a subscription option, consumers are
16   directed to subsequent webpages on the HelloFresh Website, where they are prompted to create
17   a membership account and input their billing information. After these steps, consumers are
18   directed to another, final webpage (the “Checkout Page”), where prospective subscribers are
19   invited to complete their purchases. For the purposes of the ARL and this Complaint, the
20   “relevant portion of the Checkout Page” refers to the text of that portion of the Checkout Page
21   that appears “in visual proximity to the request for consent to the offer[,]” which in this case
22   pertains to the latter block of text located immediately above the final green “Place order &
23   select meals” button that customers must press in order to complete the checkout process.
24          36.     By way of example, at least as of August 2022, when a consumer signed up for a
25   HelloFresh Subscription via his or her computer web browser, the “relevant portion of the
26   Checkout Page” refers to the disclosures in the block of text above the green “Place order &
27   select meals” button (i.e., the “request for consent”), which contains the following language
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 1   and appearance (red box added for emphasis):
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22          37.     Regardless of how the consumer subscribes (via the HelloFresh Website on its

23   mobile or desktop format), and irrespective of which particular HelloFresh Subscription plan the

24   consumer selects, Defendant fails to disclose the full terms of its auto-renewal program either

25   before or after checkout, and it never requires the individual to read or affirmatively agree to any

26   terms of service, i.e., by requiring consumers to click a checkbox next to the automatic renewal

27   offer terms before consumers complete the checkout process and submit their orders for

28   Defendant’s HelloFresh Subscriptions. Consequently, Defendant uniformly fails to obtain any form


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 1   of consent from – or even provide effective notice to – its subscribers before charging consumers’
 2   Payment Methods on a recurring basis.
 3          E.      Defendant Violates California’s Automatic Renewal Law
 4          38.     At all relevant times, Defendant failed to comply with the ARL in three ways: (i)
 5   Defendant failed to present the automatic renewal offer terms in a clear and conspicuous manner
 6   and in visual proximity to the request for consent to the offer before the subscription or purchasing
 7   agreement was fulfilled, in violation of Cal. Bus. & Prof. Code § 17602(a)(l); (ii) Defendant
 8   charged Plaintiff’s and the proposed class members’ Payment Methods without first obtaining their
 9   affirmative consent to the agreement containing the automatic renewal offer terms, in violation of
10   Cal. Bus. & Prof. Code § 17602(a)(2); and (iii) Defendant failed to provide an acknowledgment
11   that included the automatic renewal offer terms, cancellation policy, and information regarding
12   how to cancel in a manner that is capable of being retained by the consumer, in violation of Cal.
13   Bus. & Prof. Code §§ 17602(a)(3).
14                  i.      Defendant Fails To Clearly And Conspicuously Present The HelloFresh
                            Subscription Automatic Renewal Terms
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            39.     As explained in greater depth below, the relevant portion of Defendant’s Checkout
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     Page does not clearly and conspicuously present the HelloFresh Subscription’s complete
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     “automatic renewal offer terms[,]” as defined by Cal. Bus. & Prof. Code §17601(b). First,
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     Defendant fails to clearly and conspicuously disclose that “the subscription or purchasing
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     agreement will continue until the consumer cancels” as defined by Cal. Bus. & Prof. Code §
20
     17601(b)(1). As illustrated by the Checkout Page above, although the relevant portion mentions
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     that “unless I cancel” consumers will be enrolled in a “weekly auto-renewal price of $__ after my
22
     discount period ends,” this disclosure is inadequate because it fails to specify what exactly is the
23
     “discount period.” Indeed, the only place where a subscriber might find out their “discount period”
24
     is located under the “Order summary” section located in the upper right corner of the Checkout
25
     Page within a sentence that states “[e]njoy more savings for another 6 weeks!” Yet, that sentence
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     does not use the words “discount period” but rather “more savings.” Further, the “more savings”
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     statement precedes the price of seven boxes: making it unclear whether the “more savings” period
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 1   refers to seven or “6 weeks” from the date of purchase. To make matters worse, the “more savings”
 2   section is overshadowed by the actual use of the word “Discount” –located in the same location—
 3   which clearly relates to the “First box total” amount stated underneath: both of which are written
 4   in a larger font and/or red ink color. As such, the Checkout Page gives consumers the impression
 5   that they are only purchasing a single box at a discounted price rather than enrolling in a “discount
 6   period,” followed by a continuous subscription. Aside from being inconspicuous, as discussed in
 7   greater depth below, the Checkout Page thus fails to disclose “[t]hat the subscription or purchasing
 8   agreement will continue until the consumer cancels” in the manner required by the statute. Cal.
 9   Bus. & Prof. § 17601(b)(1).
10          40.     Second, Defendant fails to disclose the “description of the cancellation policy that
11   applies to the offer” as defined by Cal. Bus. & Prof. Code § 17601(b)(2). Specifically, although the
12   Checkout Page states that subscribers can “cancel your subscription through your account 5 days
13   prior to delivery,” it fails to indicate the delivery date. Indeed, the only way that a consumer could
14   plausibly find the applicable “delivery date” would be by looking at the “Delivery summary”
15   portion of the Checkout Page on the far right, which states, in a faint grey font against a grey
16   background, that “[y]ou will get your box every Saturday.” Aside from its large visual
17   displacement, along with its barely legible text, the cancellation policy also fails to disclose that all
18   orders must be canceled by 11:59 PM Pacific Time Zone, rather than the time zone where
19   consumers are located at the time that they wish to cancel their subscription. Aside from being
20   inconspicuous, as discussed in greater depth below, the Checkout Page also fails to disclose the
21   “description of the cancellation policy that applies to the offer” in the manner required by statute.
22   Cal. Bus. & Prof. § 17601(b)(2).
23          41.     Third, Defendant fails to disclose the “recurring charges that will be charged to the
24   consumer’s credit or debit card or payment account with a third party as part of the automatic
25   renewal plan or arrangement, and that the amount of the charge may change, if that is the case, and
26   the amount to which the charge will change, if known” as defined by Cal. Bus. & Prof. Code §
27   17601(b)(3). Specifically, although the Checkout Page indicates that consumers “will be charged
28   the day after your cutoff deadline,” it only allows consumers to review the “cutoff date,” “after you


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 1   have registered.” Defendant thus requires subscribers to enroll in its HelloFresh Subscription
 2   before being able to see how often they will be billed. Further, the “savings” fees disclosure fails
 3   to indicate that the recurring charges are subject to change if the subscriber modifies any of their
 4   “discount” food kits (thus increasing the price per box). Aside from being inconspicuous, as
 5   discussed in greater depth below, the Checkout Page fails to disclose the “recurring charges that
 6   will be charged to the consumer’s credit or debit card or payment …and that the amount of the
 7   charge may change, if that is the case, and the amount to which the charge will change, if known”
 8   as defined by Cal. Bus. & Prof. Code § 17601(b)(3).
 9          42.     Finally, Defendant fails to disclose the “length of the automatic renewal term or that
10   the service is continuous” as defined by Cal. Bus. & Prof. Code § 17601(b)(4). Specifically,
11   although the Checkout Page states that subscribers would be enrolled in a “weekly auto-renewal
12   plan” after the expiration of the undefined “discount period,” this disclosure does not indicate the
13   length, but rather the “price” of the auto-renewal. As such, Defendant failed to alert consumers that
14   they would be enrolling in a “continuous” subscription that would run in perpetuity, as defined by
15   Cal. Bus. & Prof. Code § 17601(b)(4).
16                  ii.     Defendant Fails To Clearly And Conspicuously Present The HelloFresh
                            Subscription Terms Before The Subscription Agreement Is Fulfilled
17                          And In Visual Proximity To The Request For Consent To The Offer.
18          43.     Because Defendant failed to present the full “automatic renewal offer terms” of its
19   HelloFresh Subscriptions on its Checkout Page, as defined by Cal. Bus. & Prof. Code §17601(b),
20   it, therefore, failed to present these material terms “before the subscription or purchasing
21   agreement [was] fulfilled”, in violation of Cal. Bus. & Prof. Code § 17602(1). Further, even if
22   Defendant has presented the full “automatic renewal offer terms” of its HelloFresh Subscriptions
23   (it did not), those terms were not presented “in a clear and conspicuous manner… and in visual
24   proximity… to the request for consent to the offer” in violation of Cal. Bus. & Prof. Code §
25   17602(1).
26          44.     Pursuant to Section 17601(c) of the ARL, “clear and conspicuous” or “clearly and
27   conspicuously” means “in larger type than the surrounding text, or in contrasting type, font, or
28   color to the surrounding text of the same size, or set off from the surrounding text of the same size


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 1   by symbols or other marks, in a manner that clearly calls attention to the language.” Cal. Bus. &
 2   Prof. Code § 17601(c). Defendant’s inadequate “automatic renewal terms” fall well short of the
 3   mark from being conspicuous as defined under the ARL.
 4          45.     First, even if “weekly auto-renewal price” text on the Checkout Page complied with
 5   the ARL, it is nonetheless deficient because it is smaller than the text featured in and under the
 6   “Payment information,” “Order Summary,” and “Delivery Summary,” headers, which fill up the
 7   vast majority of the Checkout Page. Additionally, the disclosure is presented in the same size,
 8   color, and font as that of the surrounding block of text. Moreover, the disclosure is placed
 9   alongside other, unrelated disclosures without distinction from the surrounding text of the same
10   size in any manner that calls attention to the language. The lack of distinction causes the disclosure
11   to blend into the accompanying text of the same size and font featured within the same block of
12   text above the “Place order” button. At the same time, the text of that block is less obvious or
13   noticeable than the rest of the colorful text and vignettes on the Checkout Page—which use larger
14   font and colors (green and red)—and draws the eye’s attention much more readily than the text in
15   question. Compared to the text above the “Place order” button, the green (and larger and/or
16   bolded) text of the Checkout Page visually stands out, drawing attention away from the text at
17   issue. In other words, the disclosure was presented in such a way that it could be, and was, easily
18   overlooked, and is therefore not “clear and conspicuous” as defined by Cal. Bus. & Prof. Code §
19   17601(c). Similarly, the deficient “cut off” disclosure is found on the lower right corner of the
20   Checkout Page under the “FAQs” (requiring subscribers to scroll down underneath the “Place
21   order” button) and is written in barely legible grey font against a gray background. Thus, this
22   disclosure also is neither “clear and conspicuous” as defined under Section 17601(c) of the ARL,
23   nor “in visual proximity… to the request for consent to the offer” in violation of Cal. Bus. & Prof.
24   Code § 17602(1).
25          46.     In addition, the relevant portion of the Checkout Page fails to adequately disclose
26   the recurring amount to be charged to the subscriber’s Payment Method each billing period.
27   Specifically, although the Checkout Page contains some relevant information regarding the fees
28   associated with the consumer’s “savings for another 6 weeks,” it nevertheless fails to comply with


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 1   the statute because this price information is placed in the block of text positioned near the top of
 2   the Checkout Page under the “Discount” portion of the “Order summary” section, whereas the
 3   “Place order” button appears towards the bottom of the Checkout Page. This problem is
 4   compounded because the “savings” fees are overshadowed by the much large “First box total” text
 5   set forth underneath. Thus, this disclosure also is neither “clear and conspicuous” as defined under
 6   Section 17601(c) of the ARL, nor “in visual proximity… to the request for consent to the offer” in
 7   violation of Cal. Bus. & Prof. Code § 17602(1).
 8                  iii.    Defendant Fails To Obtain Consumers’ Affirmative Consent To The
                            Automatic Renewal Terms Associated With The HelloFresh
 9                          Subscriptions.
10          47.     Furthermore, Defendant unlawfully charged Plaintiff’s and the proposed class
11   members’ Payment Methods without first obtaining their affirmative consent to the agreement
12   containing the automatic renewal (and continuous service terms), including their promotional and
13   discounted prices, in violation of Cal. Bus. & Prof. Code § 17602(2). Specifically, Defendant does
14   not at any point during the checkout process require consumers to read or affirmatively agree to
15   any terms of service associated with their HelloFresh Subscriptions, e.g., by requiring consumers to
16   select or click a “checkbox” next to the automatic renewal offer terms to complete the checkout
17   process. In fact, as discussed above, the only terms that consumers could have purportedly agreed
18   to, even without a checkbox manifesting affirmative consent, was that “[b]y clicking ‘Place order
19   & select meals’, I agree…unless I cancel, to the weekly auto-renewal price of $__ after my
20   discount period ends.” That call to action, however, only specifies the price of the “weekly auto-
21   renewal” following the “discount period” and it is unclear whether the statement “unless I cancel”
22   relates to the cancelation policy of the “weekly auto-renewal” once it commences or that the
23   “weekly auto-renewal” will commence unless a consumer “cancels” prior to the expiration of the
24   “discount period.” Indeed, the “unless I cancel” statement immediately precedes and modifies the
25   “weekly auto renewal” statement—it does not clearly state, for example, “unless I cancel prior to
26   my discount period, the auto-renewal price of $__.” Thus, at no point, during the enrollment
27   process or on the Checkout Page, was there an unambiguous or affirmative consent to Defendant’s
28   automatic-renewal terms in violation of Cal. Bus. & Prof. Code § 17602(2).


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 1                 iv.     Defendant Fails To Provide A Post-Checkout Acknowledgment That
                           Clearly And Conspicuously Discloses The Required HelloFresh
 2                         Subscription Offer Terms.
 3          48.    Finally, after Plaintiff and the proposed class members subscribed to one of
 4   Defendant’s HelloFresh Subscription plans, Defendant sent email follow-ups regarding their
 5   purchases (the “Acknowledgment Emails”).
 6          49.    By way of example, as of 2022, the subject line of the email stated: “Welcome to
 7   the Fresh Fam!” The body of the email contained, in relevant part, the following text and images:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        24
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 1            50.     The Acknowledgment Email contains even less of the required information than is
 2   featured on the relevant portion of the Checkout Page, discussed above. Namely, the purchase
 3   confirmation does not provide: that the subscription “will continue until the consumer cancels[,]”
 4   Cal. Bus. & Prof. Code § 17601(b)(1); a “description of the cancellation policy that applies to the
 5   offer[,]” Cal. Bus. & Prof. Code § 17601(b)(2); a statement of “[t]he recurring charges that will be
 6   charged to the consumer’s [Payment Method] as part of the automatic renewal plan or
 7   arrangement, and that the amount of the charge may change, [and] if that is the case, and the
 8   amount to which the charge will change, Cal. Bus. & Prof. Code § 17601(b)(3); or “[t]he length of
 9   the automatic renewal term or that the service is continuous, unless the length of the term is chosen
10   by the consumer[,]” Cal. Bus. & Prof. Code § 17601(b)(4). As such, the Acknowledgment Email
11   fails to “include[] the automatic renewal offer terms … and information regarding how to cancel in
12   a manner that is capable of being retained by the consumer[,]” in violation Cal. Bus. & Prof. Code
13   § 17602(a)(3).
14            51.     At all relevant times, Defendant has been well aware that its HelloFresh
15   Subscriptions fail to comply with California’s ARL as evidenced by the number of complaints
16   lodged against it in the Better Business Bureau website and the complaints sent by the Truth in
17   Advertising to the FTC. The facts giving rise to Plaintiff’s claims are materially the same as the
18   Class he seeks to represent.
19            52.     By and through these actions, Defendant has charged Plaintiff’s and the proposed
20   class members’ Payment Methods in direct violation of the ARL. As a result, all goods, wares,
21   merchandise, or products sent to Plaintiff and the Class under the automatic renewal of continuous
22   service agreements are deemed to be “unconditional gifts” pursuant to Cal. Bus. & Prof. Code §
23   17603.
24                                    CLASS ACTION ALLEGATIONS
25            53.     Class Definition: Plaintiff brings this action pursuant to Rule 23(a) of the Federal
26   Rules of Civil Procedure on behalf of a class of similarly situated individuals, defined as follows
27   (the “Class”):
28


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 1                   All persons in California who, within the applicable statute of
                     limitations period, up to and including the date of final judgment in
 2                   this action, incurred renewal fee(s) in connection with Defendant’s
 3                   HelloFresh Subscription offerings.

 4          54.      Specifically excluded from the Class are Defendant and any entities in which

 5   Defendant has a controlling interest, Defendant’s agents and employees, the judge to whom this

 6   action is assigned, members of the judge’s staff, and the judge’s immediate family.

 7          55.      Plaintiff reserves the right to amend the definitions of this Class if discovery or

 8   further investigation reveals that the Class should be expanded or otherwise modified.

 9          56.      Numerosity. Members of the Class are so numerous that their individual joinder

10   herein is impracticable. On information and belief, the Class comprises at least thousands of

11   consumers throughout California. The precise number of Class members and their identities are

12   unknown to Plaintiff at this time but may be determined through discovery. Class members may be

13   notified of the pendency of this action by mail and/or publication through the distribution records

14   of Defendant.

15          57.      Commonality and Predominance. Common questions of law and fact exist as to all

16   Class members and predominate over questions affecting only individual Class members. Common

17   legal and factual questions include, but are not limited to: (a) whether Defendant’s HelloFresh

18   Subscriptions constitute “Automatic renewal[s]” within the meaning of Cal. Bus. & Prof. Code §

19   17601(a); (b) whether Defendant failed to present the automatic renewal offer terms, or continuous

20   service offer terms, in a clear and conspicuous manner before the subscription or purchasing

21   agreement was fulfilled and in visual proximity to the request for consent to the offer, in violation

22   of Cal. Bus. & Prof. Code § 17602(a)(l); (c) whether Defendant charged Plaintiff’s and Class

23   members’ Payment Method for an automatic renewal service without first obtaining their

24   affirmative consent to the automatic renewal offer terms in violation of Cal. Bus. & Prof. Code§

25   17602(a)(2); (d) whether Defendant failed to provide an acknowledgement that included the

26   automatic renewal or continuous service offer terms, cancellation policy, and information on how

27   to cancel in a manner that is capable of being retained by Plaintiff and the Class, in violation of

28   Cal. Bus. & Prof. Code § 17602(a)(3); (e) whether the goods and services provided by Defendant


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 1   are deemed an “unconditional gift” in accordance with Cal. Bus. & Prof. Code § 17603; (f)
 2   whether Defendant’s conduct alleged herein violated California’s False Advertising Law (“FAL”),
 3   Cal. Bus. & Prof. Code §§ 17500, et seq., California’s Consumers Legal Remedies Act (“CLRA”),
 4   Cal. Civ. Code §§ 1750, et seq., and/or California’s Unfair Competition Law (“UCL”), Cal. Bus. &
 5   Prof. Code §§ 17200, et seq.; (g) whether Defendant’s conduct alleged herein constitutes
 6   conversion and/or unjust enrichment; (h) whether Plaintiff and the Class are entitled to damages
 7   and/or restitution; (i) whether Defendant should be enjoined from further engaging in the
 8   misconduct alleged herein; and (j) whether Plaintiff and the Class are entitled to attorneys’ fees and
 9   costs under California Code of Civil Procedure § 1021.5.
10          58.     Typicality. The claims of Plaintiff are typical of the claims of the Class in that
11   Plaintiff and the Class sustained damages as a result of Defendant’s uniform wrongful conduct,
12   based upon Defendant’s failure to obtain Plaintiff’s and the Class’s affirmative consent to the
13   automatic renewal offer terms or continuous service offer terms associated with the HelloFresh
14   Subscriptions before charging their Payment Methods.
15          59.     Adequacy. Plaintiff will fairly and adequately protect Class members’ interests.
16   Plaintiff has no interests antagonistic to Class members’ interests, and Plaintiff has retained counsel
17   that have considerable experience and success in prosecuting complex class-actions and consumer
18   protection cases.
19          60.     Superiority. A class action is superior to all other available methods for the fair and
20   efficient adjudication of this controversy for, inter alia, the following reasons: prosecutions of
21   individual actions are economically impractical for members of the Class; the Class is readily
22   definable; prosecution as a class action avoids repetitious litigation and duplicative litigation costs,
23   conserves judicial resources, and ensures uniformity of decisions; and prosecution as a class action
24   permits claims to be handled in an orderly and expeditious manner.
25          61.     Defendant has acted or failed to act on grounds generally applicable to the Class,
26   thereby making appropriate final injunctive relief with respect to the Class as a whole.
27          62.     Without a class action, Defendant will continue a course of action that will result in
28   further damages to Plaintiff and the Class and will likely retain the benefits of its wrongdoing.


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 1          63.     Based on the foregoing allegations, Plaintiff’s claims for relief include those set
 2   forth below.
                                                 COUNT I
 3
                       Violations of California’s Unfair Competition Law (“UCL”),
 4                                Cal. Bus. & Prof. Code §§ 17200, et seq.

 5          64.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the

 6   preceding paragraphs as though alleged in this Count.

 7          65.     Plaintiff brings this claim individually and on behalf of the members of the

 8   proposed Class against Defendant.

 9          66.     The UCL prohibits unfair competition in the form of “any unlawful, unfair, or

10   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any

11   act[.]” Cal. Bus. & Prof. Code § 17200. The UCL allows “a person who has suffered injury in fact

12   and has lost money or property” to prosecute a civil action for violation of the UCL. Cal. Bus. &

13   Prof. Code § 17204. Such a person may bring such an action on behalf of himself or herself and

14   others similarly situated who are affected by the unlawful and/or unfair business practice or act.

15          67.     As alleged in more detail below, Defendant’s acts and practices alleged herein are

16   “unlawful” within the meaning of the UCL because they violated the following laws, regulations,

17   and rules, including the Automatic Renewal Law (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et

18   seq., as well as the CLRA, FAL, and all other consumer protection statutes and common laws as

19   asserted in Counts II through V below.

20          Violations of California’s Automatic Renewal Law

21          68.     Additionally, at all relevant times, Defendant has violated, and continues to violate,

22   the UCL’s proscription against engaging in unlawful and/or unfair conduct as a result of its

23   violations of the ARL, Cal. Bus. & Prof. Code §§ 17600, et seq., as alleged in the above paragraphs

24   of this complaint, which are incorporated herein by reference.

25          69.     Specifically, Defendant failed, and continues to fail, to: (a) provide the automatic

26   renewal terms associated with its HelloFresh Subscription “in a clear and conspicuous manner

27   before the subscription or purchasing agreement is fulfilled and in visual proximity[] … to the

28   request for consent to the offer[,]” in violation of Cal. Bus. & Prof. Code § 17602(a)(1); (b) obtain


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 1   the affirmative consent of Plaintiff and the Class to those terms before charging their Payment
 2   Method, in violation of Cal. Bus. & Prof. Code § 17602(a)(2); and (c) provide an acknowledgment
 3   that includes the automatic renewal or continuous service offer terms, cancellation policy, and
 4   information regarding how to cancel in a manner that is capable of being retained by the consumer,
 5   in violation of Cal. Bus. & Prof. Code §§ 17602(a)(3). Defendant also makes it exceedingly
 6   difficult and unnecessarily confusing for consumers to cancel their HelloFresh Subscriptions, in
 7   violation of Cal. Bus. & Prof. Code § 17602(b).
 8          70.     Each of these acts and practices constitutes an independent violation of the ARL,
 9   and thus an independent violation of the UCL.
10          71.     All products received from Defendant in violation of the ARL, Cal. Bus. Prof. Code
11   §§ 17602, et seq., constitute “unconditional gifts.” See Cal. Bus. Prof. Code § 17603.
12          72.     As a direct and proximate result of Defendant’s unlawful and/or unfair practices
13   described herein, Defendant has received, and continues to hold, unlawfully obtained property and
14   money belonging to Plaintiff and the Class in the form of payments made by Plaintiff and the Class
15   for their HelloFresh Subscriptions. Defendant has profited from its unlawful and/or unfair acts and
16   practices in the amount of those business expenses and interest accrued thereon. Thus, Plaintiff
17   have suffered injury in fact and lost money or property as a result of Defendant’s violations of
18   California’s ARL.
19          73.     Defendant was prohibited from making these charges and taking Plaintiffs’ money
20   without the required affirmative consent. If Defendant had complied with the law, Defendant could
21   not have made the charges, and would not have obtained this money from Plaintiff.
22          Violations of Other Statutes and Common Laws
23          74.     Furthermore, alleged below, Defendant has committed unlawful and/or unfair
24   business practices under the UCL by: (a) representing that Defendant’s goods and services have
25   certain characteristics that they do not, in violation of Cal. Civil Code § 1770(a)(5); (b) advertising
26   goods and services with the intent not to sell them as advertised, in violation of Cal. Civil Code §
27   1770(a)(9); and (c) converting to Defendant’s own use and benefit money that rightfully belongs to
28   Plaintiff and the Class.


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 1          75.     Defendant’s acts and omissions as alleged herein violate obligations imposed by
 2   statute, are substantially injurious to consumers, offend public policy, and are immoral, unethical,
 3   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged benefits
 4   attributable to such conduct.
 5          76.     There were reasonably available alternatives to further Defendant’s legitimate
 6   business interests, other than the conduct described herein.
 7          77.     Defendant’s acts, omissions, nondisclosures, and misleading statements as alleged
 8   herein were and are false, misleading, and/or likely to deceive the consuming public.
 9          78.     Plaintiff and the members of the Class have suffered a substantial injury in fact and
10   lost money by virtue of Defendant’s acts of unfair competition, which caused them to purchase the
11   HelloFresh Subscriptions. Had Defendant complied with its disclosure obligations under the ARL,
12   Plaintiff and members of the Class would not have purchased their HelloFresh Subscriptions or
13   would have canceled their HelloFresh Subscriptions prior to the renewal of the subscriptions, so as
14   to not incur additional fees. Thus, Plaintiff and members of the Class were damaged and have
15   suffered economic injuries as a direct and proximate result of Defendant’s unlawful and/or unfair
16   business practices.
17          79.     Defendant’s violations have continuing and adverse effects because Defendant’s
18   unlawful conduct is continuing, with no indication that Defendant intends to cease this unlawful
19   course of conduct. The public and the Class are subject to ongoing harm because the unlawful
20   and/or unfair business practices associated with the HelloFresh Subscriptions are still used by
21   Defendant today.
22          80.     Plaintiff and the Class seek restitution pursuant to Cal. Bus. & Prof. Code § 17203
23   of all amounts that Defendant charged or caused to be charged to Plaintiff’s and the Class’s
24   Payment Methods in connection with their HelloFresh Subscriptions during the four years
25   preceding the filing of this Complaint. Defendant should be required to disgorge all the profits and
26   gains it has reaped and restore such profits and gains to Plaintiff and the Class, from whom they
27   were unlawfully taken.
28


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 1          81.     Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiff and members of the Class
 2   seek a court order enjoining Defendant from such future misconduct, and any other such orders that
 3   may be necessary to rectify the unlawful business practices of Defendant.
 4          82.     Plaintiff, individually and on behalf of similarly situated California consumers,
 5   brings this action as private attorneys general and to vindicate and enforce an important right
 6   affecting the public interest. Plaintiff and the Class are therefore entitled to an award of attorneys’
 7   fees under Code of Civil Proc. § 1021.5 for bringing this action.
 8                                                 COUNT II
                                                   Conversion
 9
            83.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the
10
     preceding paragraphs as though alleged in this Count.
11
            84.     Plaintiff brings this claim individually and on behalf of the members of the
12
     proposed Class against Defendant.
13
            85.     As a result of charges made by Defendant to Plaintiff’s and Class members’
14
     Payment Methods without authorization and in violation of California law, Defendant has taken
15
     money that belongs to Plaintiff and the Class.
16
            86.     The amount of money wrongfully taken by Defendant is capable of identification.
17
            87.     Defendant engaged in this conduct knowingly, willfully, and with oppression, fraud,
18
     and/or malice within the meaning of Cal. Civil Code § 3294(c).
19
            88.     As a result of Defendant’s actions, Plaintiff and the Class have suffered damages.
20
                                                COUNT III
21                      Violations of California’s False Advertising Law (“FAL”),
                                 Cal. Bus. & Prof. Code §§ 17500, et seq.
22
            89.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the
23
     preceding paragraphs as though alleged in this Count.
24
            90.     Plaintiff brings this claim individually and on behalf of the members of the
25
     proposed Class against Defendant.
26
            91.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,
27
     makes it “unlawful for any person to make or disseminate or cause to be made or disseminated
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          32
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 1   before the public in this state, …in any advertising device … or in any other manner or means
 2   whatever, including over the Internet, any statement, concerning … personal property or services,
 3   professional or otherwise, or performance or disposition thereof, which is untrue or misleading and
 4   which is known, or which by the exercise of reasonable care should be known, to be untrue or
 5   misleading.”
 6          92.     Defendant committed acts of false advertising, as defined by § 17500, by
 7   intentionally making and disseminating statements to consumers in California and the general
 8   public concerning Defendant’s products and services, as well as circumstances and facts connected
 9   to such products and services, which are untrue and misleading on their face and by omission, and
10   which are known (or which by the exercise of reasonable care should be known) by Defendant to
11   be untrue or misleading. Defendant has also intentionally made or disseminated such untrue or
12   misleading statements and material omissions to consumers in California and to the public as part
13   of a plan or scheme with intent not to sell those services as advertised.
14          93.     Defendant’s statements include but are not limited to representations and omissions
15   made to consumers before and after enrollment in Defendant’s HelloFresh Subscriptions regarding
16   the terms of payment for and cancellation of a consumer’s automatic payments. For instance,
17   Defendant’s representation on the Checkout Pages of the HelloFresh Website that members can
18   “cancel” their HelloFresh Subscription is contradicted by their policy set forth elsewhere on the
19   HelloFresh Website that customers must cancel their HelloFresh Subscriptions by 11:59 PM
20   Pacific Time Zone before the next charge. In light of Defendant’s disclosure of the former and
21   silence as to the latter on the Checkout Pages for the HelloFresh Subscriptions, the representations
22   and omissions on the Checkout Pages constitute false and deceptive advertisements. Similarly,
23   Defendant misleads consumers into believing that they would only be paying a “Discount[ed]”
24   charge for a single “box,” rather than a continuous charge, by prominently displaying the “First
25   box total charge” for their “First delivery” on the “Order summary,” and “Delivery summary” and
26   portions of the Checkout Page and then burying within a barely legible block of text that
27   consumers were being enrolled into a “weekly auto-renewal.”
28


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 1          94.     Defendant’s actions in violation of § 17500, as described herein, were false and
 2   misleading such that the general public is and was likely to be deceived.
 3          95.     Defendant knew that its actions were misleading based on the sheer number of
 4   complains that it has received from consumers who were unwillingly enrolled into its HelloFresh
 5   Subscriptions under false pretenses.
 6          96.     Plaintiff and the members of the Class were deceived by Defendant’s statements and
 7   omissions made online when they signed up and started paying for their HelloFresh Subscriptions,
 8   and other California consumers and members of the public were also or are likely to be deceived as
 9   well. Any reasonable consumer would be misled by Defendant’s false and misleading statements
10   and material omissions. Plaintiff and other members of the Class did not learn of Defendant’s
11   HelloFresh Subscription price, cancellation, and automatic payment policies until after they had
12   already signed up and started paying for Defendant’s HelloFresh Subscription. Thus. they relied on
13   Defendant’s statements and omissions to their detriment.
14          97.     Plaintiff and the Class lost money or property as a result of Defendant’s FAL
15   violations because they would not have purchased the HelloFresh Subscriptions on the same terms
16   if the true facts were known about the product and the HelloFresh Subscriptions do not have the
17   characteristics or the purchase price as promised by Defendant.
18          98.     Plaintiff, individually and on behalf of all similarly situated California consumers,
19   seeks individual, representative, and public injunctive relief and any other necessary orders or
20   judgments that will prevent Defendant from continuing with its false and deceptive advertisements
21   and omissions; restitution that will restore the full amount of their money or property;
22   disgorgement of Defendant’s relevant profits and proceeds; and an award of costs and reasonable
23   attorneys’ fees.
24                                              COUNT IV
                  Violations of California’s Consumers Legal Remedies Act (“CLRA”),
25                                    Cal. Civ. Code §§ 1750, et seq.
26          99.     Plaintiff re-alleges and incorporates by reference every allegation set forth in the
27   preceding paragraphs as though alleged in this Count.
28


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 1          100.    Plaintiff brings this claim individually and on behalf of the members of the
 2   proposed Class against Defendant.
 3          101.    Plaintiff and the members of the Class are “consumers” within the meaning of Cal.
 4   Civil Code § 1761(d) in that Plaintiff and the Class sought or acquired Defendant’s goods and/or
 5   services for personal, family, or household purposes.
 6          102.     Defendant’s selection and/or subscription offers and the video, music, and other
 7   products pertaining thereto are “goods” and/or “services” within the meaning of Cal. Civil Code §
 8   1761(a) and (b). The purchases by Plaintiff and the Class are “transactions” within the meaning of
 9   Cal. Civil Code § 1761(e).
10          103.    The acts and practices of Defendant as described above were intended to deceive
11   Plaintiff and the Class as described herein, and have resulted, and will result, in damages to
12   Plaintiff and the Class. These actions violated, and continue to violate, the CLRA in at least the
13   following respects: (a) Defendant’s acts and practices constitute representations or omissions
14   deceiving that the HelloFresh Subscriptions have characteristics, uses, and/or benefits, which they
15   do not, in violation of Cal. Civil Code §1770(a)(5); and (b) Defendant’s acts and practices
16   constitute the advertisement of the goods in question without the intent to sell them as advertised,
17   in violation of Cal. Civil Code § 1770(a)(9).
18          104.    Plaintiff and the Class suffered economic injury as a direct result of Defendant’s
19   misrepresentations and/or omissions because they were induced to purchase HelloFresh
20   Subscriptions and/or pay renewal fees they would not have otherwise purchased and/or paid. Had
21   Defendant fully and clearly disclosed the terms and purchase price associated with the HelloFresh
22   Subscriptions, Plaintiff and the Class would have not subscribed to the HelloFresh Subscriptions,
23   or they would have cancelled their HelloFresh Subscriptions earlier, i.e., prior to the expiration of
24   the initial subscription period.
25          105.    Plaintiff and the California Subclass members presently seek only injunctive relief
26   under this Count. If Defendant fails to remedy the violations alleged herein within 30 days of
27   receipt of Plaintiff’s notice, Plaintiff will amend this Complaint to add claims for actual, punitive,
28   and statutory damages pursuant to the CLRA.


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 1                                                COUNT V
                                         Unjust Enrichment / Restitution
 2
            106.    Plaintiff re-alleges and incorporates by reference every allegation set forth in the
 3
     preceding paragraphs as though alleged in this Count.
 4
            107.    Plaintiff brings this claim individually and on behalf of Class members under the
 5
     laws of the State of California.
 6
            108.    To the extent required by law, this cause of action is alleged in the alternative to
 7
     legal claims, as permitted under Fed. R. Civ. P. 8.
 8
            109.    Plaintiff and the Class conferred benefits on Defendant by purchasing the
 9
     HelloFresh Subscriptions.
10
            110.    Defendant has been unjustly enriched in retaining the revenues derived from
11
     Plaintiff’s and the Class’s purchases of the HelloFresh Subscriptions. Retention of those moneys
12
     under these circumstances is unjust and inequitable because Defendant’s failure to disclose
13
     material terms of the purchase agreement, in violation of California law, induced Plaintiff and the
14
     Class to purchase the HelloFresh Subscriptions. These omissions caused injuries to Plaintiff and
15
     the Class because they would not have purchased the HelloFresh Subscriptions at all, or on the
16
     same terms if the true facts were known.
17
            111.    Because Defendant’s retention of the non-gratuitous benefits conferred on them by
18
     Plaintiff and Class members is unjust and inequitable, Defendant has been unjustly enriched in an
19
     amount to be determined at trial.
20
                                            PRAYER FOR RELIEF
21
            WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
22
     judgment against Defendant, as follows:
23
                    (a)     For an order certifying the Class under Rule 23 of the Federal Rules of Civil
24
                            Procedure and naming Plaintiff as representatives of the Class and Plaintiff’s
25                          attorneys as Class Counsel to represent the Class;

26                  (b)     For an order declaring the Defendant’s conduct violates the statutes
                            referenced herein;
27

28


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 1                   (c)     For an order finding in favor of Plaintiff and the Class on all counts asserted
                             herein;
 2
                     (d)     For actual, compensatory, statutory, and/or punitive damages in amounts to
 3
                             be determined by the Court and/or jury;
 4
                     (e)     For prejudgment interest on all amounts awarded;
 5
                     (f)     For an order of restitution and all other forms of equitable monetary relief;
 6
                     (g)     For injunctive relief as pleaded or as the Court may deem proper; and
 7
                     (h)     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees
 8                           and expenses and costs of suit.
 9
                                       DEMAND FOR TRIAL BY JURY
10
             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any
11
     and all issues in this action so triable as of right.
12

13
     Dated: September 7, 2022                         BURSOR & FISHER, P.A.
14

15                                                    By:    /s/ L. Timothy Fisher

16                                                    L. Timothy Fisher (State Bar No. 191626)
                                                      1990 North California Blvd., Suite 940
17                                                    Walnut Creek, CA 94596
                                                      Telephone: (925) 300-4455
18                                                    Facsimile: (925) 407-2700
                                                      E-mail: ltfisher@bursor.com
19
                                                      Joseph I. Marchese (pro hac vice forthcoming)
20                                                    Alec M. Leslie (pro hac vice forthcoming)
                                                      New York, NY 10019
21                                                    Telephone: (646) 837-7150
                                                      Facsimile: (212) 989-9163
22                                                    E-Mail: jmarchese@bursor.com
                                                              aleslie@bursor.com
23
                                                      GUCOVSCHI ROZENSHTEYN, PLLC.
24                                                    Adrian Gucovschi (pro hac vice forthcoming)
                                                      630 Fifth Avenue, Suite 2000
25                                                    New York, NY 10111
                                                      Telephone: (212) 884-4230
26                                                    Facsimile: (212) 884-4230
                                                      E-Mail: adrian@gr-firm.com
27
                                                      Attorneys for Plaintiff
28


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